           Case 2:17-cv-01471-AKK Document 51 Filed 12/06/18 Page 1 of 2                 FILED
                                                                                2018 Dec-06 PM 04:20
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA



                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION

RANDY ROBERTSON,                         )
                                         )
      Plaintiff,                         )
                                         )
      v.                                 )   Civil Action Number
                                         )   2:17-cv-01471-AKK
GOLDBERG & DONOVAN, INC.,                )
                                         )
      Defendant.                         )

                           NOTICE OF SETTLEMENT

      Plaintiff, RANDY ROBERTSON, (“Plaintiff”), through his attorney, Agruss

Law Firm, LLC, informs this Honorable Court that the Parties have reached a

settlement in this case. Plaintiff anticipates dismissing this case, with prejudice,

within 30 days.


DATED: December 6, 2018
                                Respectfully submitted,
                                AGRUSS LAW FIRM, LLC

                          By: /s/ James J. Parr
                                James J. Parr, ARDC No. 6317921
                                4809 N. Ravenswood Avenue, Suite 419
                                Chicago, IL 60640
                                312-224-4695 – office
                                312-253-4451 – facsimile
                                james@agrusslawfirm.com
                                Attorney for Plaintiff
                                Admitted Pro Hac Vice
        Case 2:17-cv-01471-AKK Document 51 Filed 12/06/18 Page 2 of 2




                        CERTIFICATE OF SERVICE

       On December 6, 2018, I electronically filed the Notice of Settlement with
the Clerk of the U.S. District Court, using the CM/ECF system. I e-mailed a copy
of the filed Notice of Settlement to Defense Counsel.

                         By: /s/ James J. Parr
                               James J. Parr, ARDC No. 6317921
